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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 IN RE:                                  )                     Chapter 11
                                         )
 EASTERN LIVESTOCK CO., LLC,             )                     Case No. 10-93904-BHL-11
                                         )
                   Debtor.               )                     Hon. Basil H. Lorch III
 _______________________________________ )
 JAMES A. KNAUER, CHAPTER 11 TRUSTEE )
 OF EASTERN LIVESTOCK CO., LLC,          )
                                         )
       Plaintiff,                        )
                                         )                     Adversary Proceeding No. ___
       v.                                )
                                         )
 KENNY OGDEN,                            )
                                         )
       Defendant.                        )


                                     ADVERSARY COMPLAINT

          For his complaint against Kenny Ogden, James A. Knauer, as Chapter 11 Trustee for

 Eastern Livestock Co., LLC, states as follows:

          1.        The above-captioned adversary proceeding (the "Adversary Proceeding") arises in

 and is related to the above-captioned bankruptcy case (the "Chapter 11 Case"), which is currently

 pending under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the

 United States Bankruptcy Court for the Southern District of Indiana, New Albany Division (the

 "Court").

          2.        This Adversary Proceeding is brought pursuant to Rule 7001 of the Federal Rules

 of Bankruptcy Procedure.

          3.        This Court has jurisdiction over the subject matter of this Adversary Proceeding

 pursuant to 28 U.S.C. §§ 157 and 1334.




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         4.     This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b).

         5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a).

         6.     Eastern Livestock Co., LLC ("ELC") was one of the largest cattle dealers in the

 United States, with operations and assets located in at least eleven states. ELC was

 headquartered in New Albany, Indiana, with branch locations across several states.

         7.     Certain petitioning creditors commenced the Chapter 11 Case on December 6,

 2010, by filing an involuntary petition for relief under the Bankruptcy Code. The Court entered

 the Order For Relief in An Involuntary Case and Order to Complete Filing on December 28,

 2010.

         8.     James A. Knauer ("Trustee") was appointed as the Chapter 11 Trustee for ELC.

         9.     Defendant Kenny Ogden ("Defendant") is an individual residing at 1050 W. Dade

 72, Lockwood, MO 65682. Defendant did business with ELC.

         10.    From approximately October 19, 2010 to November 2, 2010, ELC and Defendant

 entered into multiple business transactions, whereby Defendant purchased cattle from ELC and

 agreed to pay for such cattle.

         11.    ELC delivered the purchased cattle to Defendant and sent Defendant invoices

 reflecting amounts owed for the purchases (the "Invoices"). True and accurate copies of the

 Invoices are attached hereto as Exhibit A.

         12.    Despite receiving these invoices, Defendant has refused to pay ELC amounts due

 and owing for such purchases.

         13.    Defendant is in breach of the contract between the parties for failing to pay

 amounts when due. The amount due and owing is equal to $217,219.34.

         14.    ELC's estate has been damaged as a direct result of Defendant's breach.



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         15.     All conditions precedent to the Trustee's claims have been performed, have

 occurred, or have been excused.

         WHEREFORE, the Trustee requests that this Court enter judgment in the Trustee's favor

 and against Defendant and award the Trustee appropriate damages in the amount of $217,219.34,

 plus interest, and all other just and proper relief.

                                                 Respectfully submitted,

                                                 FAEGRE BAKER DANIELS LLP


                                                 By: /s/ Shawna Meyer Eikenberry

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